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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )                4:01CR3061
                                     )
           v.                        )
                                     )
RICARDO TORRES,                      )                   ORDER
                                     )
                  Defendant.         )
                                     )



     The deadline for filing pretrial motions has been extended

to March 2, 2009.

     IT THEREFORE HEREBY IS ORDERED, trial of this matter is

continued until further order.

     DATED this 18th day of February, 2009.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
